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EXHIBIT C

 
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IN THE MATTER OF THE ARBITRATION ORDINANCE (CAP. 341)
and

IN THE MATTER OF AN ARBITRATION

BETWEEN

CHINA NATIONAL BUILDING MATERIAL

INVESTMENT CO LTD

(formerly known as “BND Co Ltd”) Claimant
"and

BNK INTERNATIONAL LLC Respondent

FINAL AWARD (ON COSTS)

WHEREAS:-
1.  Onor about 8 May 2004, the Claimant (formerly trading in the name of

“BND Co Ltd”) entered into a written agreement with the Respondcnt
for the sale and marketing of the Claimant's hardwood floor products in

the United States of America (“the Agreement”),

2, Clause 28 of the Agreement provides that any controversy or claim
between the parties arising out of or relating to the Agreement or the

breach thercof shall be submitted to arbitration held in Hong Kong.

3. An arbitral tribunal, consisting of
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Mr. Philip Yang, appointed by letter from the Claimant on 30 January
2008,

Mr. Fred Kan, appointed by letter from the Hong Kong International
Arbitration Centre on 22 May 2008, and |

Mr. Danny Choi, jointly appointed by Mr. Philip Yang and Mr. Fred
Kan on 28 May 2008,

has been properly constituted to arbitrate in a dispute that has arisen out

of or in relation to the Agreement.

4. On 1 December 2008, an oral hearing was held in Hong Kong. As the
Respondent was absent from the hearing, we directed that a transcript of
the hearing, taken by the Merrill Legal Solutions staff, be sent to Messrs.

DLA Piper Hong Kong (“the Respondent's solicitors”).

5. On 10 December 2008, we directed that the oral hearing be resumed in
Hong Kong on 20 January 2009 to hear the evidence of Mr. Jeffrey
Chang (“Mr. Chang”), the President of the Respondent, who, according
to the Respondent’s solicitors, should be able to travel to Hong Kong

from early January 2009.

6. On 6 January 2009, Mr. Chang confirmed to the tribunal that he would
not attend the hearing on 20 January 2009 but he would proceed with
‘this case without a Jegal counsel representing the Respondent and would
himself furnish to the tribunal further written submissions. We then
received and took into account further written submissions from both the

Claimant’s legal representative, Global Law Office (“GLO”) and Mr.

 
 

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Chang.

7, 0n23 January 2009, we published the Final Award (Save As To Costs).

We also made an Order Nisi on costs in that Award.

8 On 4 February 2009, we reccived a request from GLO for an award that
all the arbitration costs shall be borne by the Respondent including all
the legal fees paid by the Claimant, that is, RMB¥2,000,000.00 rather
than HK$1,000,000.00.

9. On 10 February 2009, we directed the Claimant to make a full written
submissions, by 13 February 2009, as to why the tribunal should award

costs as contended for.

10. There being no written submission from the Claimant by 13 February
2009, we received, on 27 February 2009, a request from GLO to issuc

the Final Award on costs.

1}, In making a provisional order on costs, we made it clear that we were
open to persuasion. We expected that GLO would, by way of a full
written submission, convince us why we should vary the provisional
order on costs but GLO did not attempt to do so, We have, nevertheless,
reviewed the Order Nisi on costs, We accept that all the arbitration costs
shall be borne by the Respondent but we see no reason to disturb our
ruling that the proper scale of costs in this case should be on the party
and party basis. On this basis, the losing party is only liable for a
reasonable amount in respect of all legal costs reasonably incurred by

the winning party. Given the nature of the claim and the work involved

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in this reference, we have assessed a reasonable amount of the attorney
fees at, We are convinced that the terms of the Order Nisi on costs ought
to be made absolute. Exercising our power under section 2GJ(1) of the
Arbitration Ordinance, (Cap.341) we hereby tax and settle the costs of

arbilration (inchiding the fees and expenses of the tribunal) as follows:-

a Amount (HK:
Tribunal’s fees . 414,400.00
Transcription & interpretation fees 48,000.00
Booking fee of the hearing room 27,000.00
Allorney’s fees 1,000,000.00

Total: 1,489,400.00

NOW, the arbitral tribunal, consisting of

Mr. Danny Choi of Room 87, 8/F, New Henry House, 10 lee House Street,
Central, Hong Kong,

Mr. Philip Yang of Unit A, 18/F, Casey Building, 38 Lok Ku Road, Sheung
Wan, Hong Kong, and

Mr. Fred Kan of 3104 Central Plaza, 18 Harbour Road, Hong Kong.

having assumed the burden of this arbitration and for the above reasons, do

hereby AWARD AND ADJUDGE that:-

(1) The Respondent shall bear and pay its own costs and shall forthwith pay
to the Claimant costs of arbitration (including the fees and expenses of
the tribunal) on a party and party basis which we now tax and settle at
HK$1,489,400.00 (Hong Kong Dollars One Million Four Hundred
Eighty Nine Thousand & Four Hundred).

 
 

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(2) If there is a credit balance in the deposits paid by both parties the
reimbursement to the Claimant shall first be deducted from the sum so

paid before the Claimant seeks recovery from the Respondent.

LIN WITNESS WHEREOF we have hereunto set our hands in Hong Kong this

 

 

3° day of March 2009. we 1s
Danny Choi britip Yang Fed Kan
The Arbitrator The Arbitrator The Arbitrator
Witnessed by:- Witnessed by:» Witnessed by:-
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